Case 2:05-cv-02075-BBD-dkv Document 11 Filed 08/18/05 Page 1 of 2 Page|D 15

 

IN THE UNITEI) STATES DIsTRlCT coURT Fu.ED ev .____. n.c.
FoR 'rHE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 05 AUG 18 AH 5= 143
JAMES PLAIN, `,--_»';¢ ;Ll
WfD O:~ ear l-.'l:l-rlPHlS
Plaintif’f,
v. No_ 05_2075-1)\/

N[ETROPOLITAN LIFE INSURANCE
COl\/[FANY l\’[E'l`LIFE DISABILITY,

Defendant.

 

ORDER GRANTING JOINT COMBINED MOTION AND MEMORANDUM
FOR EXTENSION OF TIME TO FILE DISPOSITIVE MOTIONS

 

The parties have jointly moved the Court for an extension of time for the parties to file their
motions for judgment on the record and their responses

For good cause shown, it is hereby ordered that the Motion is granted, and the parties shall
have through and until September 19, 2005 to tile their motions for judgment on the record and

through and until October 17, 2005, to tile their responses

    

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Date:£(¢d(_,_,;_ /7', 3003

Th!s document entered on the docketgheet in compliance n
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with Ftu|e 58 and/or 79{3) FHCP on " / /

 

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This notice confirms a copy of the document docketed as number ll in
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Honorable Bernice Donald
US DISTRICT COURT

